             Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 1 of 17 PageID# 1
AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Eastern District
                                                     __________ Districtofof
                                                                           Virginia
                                                                             __________
                                                                                                        UNDER SEAL
              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 1:22-SW-58
                      2504 Manor Drive                                       )
                           Apt. 1D                                           )
                  Fredericksburg , VA 22401
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See attachment A.

located in the              Eastern               District of                    Virginia              , there is now concealed (identify the
person or describe the property to be seized):
 See attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               ✔ contraband, fruits of crime, or other items illegally possessed;
               u
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        Title 18, United States Code,             (possession of unregistered machineguns)
        Section 922(o)

          The application is based on these facts:
        See attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                    ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                      Applicant’s signature

                                                                                             Jose J. Oquendo, Special Agent, ATF
                                                                                                      Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).
                                                                                                                     Digitally signed by Theresa C.

Date:            01/27/2022
                                                                                  Theresa C. Buchanan                Buchanan
                                                                                                                     Date: 2022.01.27 13:42:28 -05'00'
                                                                                                        Judge’s signature

City and state: Alexandria, VA                                                               The Honorable Theresa C. Buchanan
                                                                                                      Printed name and title
  Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 2 of 17 PageID# 2




                                    ATTACHMENT A-1

                                     Place to be searched

       The property to be searched is 2504 Manor Drive, Apt. 1D, Fredericksburg, VA
22401, in the Eastern District of Virginia. 2504 Manor Drive, Apt. 1D, Fredericksburg, VA
22401 is an apartment with a black door labeled 1D. The apartment is located on the first floor
and has a sliding rear glass door. The apartment is located within the apartment building with
the numbers 2504 listed on the front of the building.




                                              25
   Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 3 of 17 PageID# 3




                                       ATTACHMENT B-1

                                         Items to be Seized

       All items constituting evidence and/or instrumentalities of violations of 18 U.S.C. §

922(o) (transfer or possess a machinegun) and 26 U.S.C. § 5861 (possession of an unregistered

firearm), including, but not limited to, the following:

       a. Firearms, including, but not limited to, firearms parts, accessories, holsters, and
          ammunition

       b. U.S. currency and other illicit gains from the distribution of firearms;

       c. Books, records, receipts, notes, ledgers, and other papers including any computerized
          or electronic records including cellular telephones, relating to the ordering, purchase
          or possession of firearms;

       d. Address and/or telephone books and papers, including computerized or electronic
          address and/or telephone records reflecting names, addresses and/or telephone
          numbers;

       e. Books, records, receipts, bank statements, and records, money drafts, letters of credit,
          money order and cashier’s checks, receipts, pass books, bank checks, safety deposit
          box keys and any other items evidencing the obtaining, secreting, transfer,
          concealment, storage and/or expenditure of money or other assets including, but not
          limited to, firearms and/or firearm parts;

       f. Documents and papers evidencing ownership of firearms, possession of firearms,
          storage and location of such assets and facilities to safely store and secure such items,
          such as safes, to include lock boxes, gun safes, and strong boxes;

       g. Photographs, in particular, photographs of firearms and/or firearm parts and
          photographs of individuals possessing firearms and/or controlled substances and
          photographs showing the association of individuals;

       h. Indicia of occupancy, residence, and/or ownership of the premises described herein,
          including, but not limited to, utility and telephone bills, cancelled envelopes, and
          keys;

       i. Firearm manufacturing equipment and tools i.e. drills, lathe, and grinder.




                                                 26
  Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 4 of 17 PageID# 4




       For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

       a. evidence of who used, owned, or controlled the COMPUTER at the time the things
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, browsing
          history, user profiles, email, email contacts, “chat,” instant messaging logs,
          photographs, and correspondence;

       b. evidence of software that would allow others to control the COMPUTER, such as
          viruses, Trojan horses, and other forms of malicious software, as well as evidence of
          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence indicating how and when the COMPUTER was accessed or used to
          determine the chronological context of computer access, use, and events relating to
          crime under investigation and to the computer user;

       e. evidence indicating the COMPUTER user’s state of mind as it relates to the crime
          under investigation;

       f. evidence of the attachment to the COMPUTER of other storage devices or similar
          containers for electronic evidence;

       g. evidence of counter-forensic programs (and associated data) that are designed to
          eliminate data from the COMPUTER;

       h. evidence of the times the COMPUTER was used;

       i. passwords, encryption keys, and other access devices that may be necessary to access
          the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to
          conduct a forensic examination of the COMPUTER;

       k. records of or information about Internet Protocol addresses used by the COMPUTER;

       l. records of or information about the COMPUTER’s Internet activity, including
          firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
          pages, search terms that the user entered into any Internet search engine, and records
          of user-typed web addresses;


                                              27
  Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 5 of 17 PageID# 5




       m. contextual information necessary to understand the evidence described in this
          attachment.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.

       The term “storage medium” includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

       During the execution of the search of 2504 Manor Drive, Apt. 1D, Fredericksburg, VA

22401, described in Attachment A-1, law enforcement personnel are authorized to press the

fingers (including thumbs) and faces of individuals found in 2504 Manor Drive, Apt. 1D,

Fredericksburg, VA 22401 to the Touch ID or Face ID sensor of cellular phones found at 2504

Manor Drive, Apt. 1D, Fredericksburg, VA 22401 for the purpose of attempting to unlock the

device via Touch ID or Face ID in order to search the contents as authorized by this warrant.




                                                28
  Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 6 of 17 PageID# 6




                                   ATTACHMENT A-2

                                    Place to be searched

       The property to be searched is 3662 Jefferson Davis Highway, Unit 86,
Fredericksburg, VA 22408, in the Eastern District of Virginia. 3662 Jefferson Davis
Highway, Unit 86, Fredericksburg, VA 22408 is a storage unit with a tan door labeled 86. The
storage unit is located within a building labeled “Q” within the storage unit facility.




                                            29
   Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 7 of 17 PageID# 7




                                       ATTACHMENT B-2

                                         Items to be Seized

       All items constituting evidence and/or instrumentalities of violations of 18 U.S.C. §

922(o) (transfer or possess a machinegun) and 26 U.S.C. § 5861 (possession of an unregistered

firearm), including, but not limited to, the following:

       a. Firearms, including, but not limited to, firearms parts, accessories, holsters, and
          ammunition

       b. U.S. currency and other illicit gains from the distribution of firearms;

       c. Books, records, receipts, notes, ledgers, and other papers including any computerized
          or electronic records including cellular telephones, relating to the ordering, purchase
          or possession of firearms;

       d. Address and/or telephone books and papers, including computerized or electronic
          address and/or telephone records reflecting names, addresses and/or telephone
          numbers;

       e. Books, records, receipts, bank statements, and records, money drafts, letters of credit,
          money order and cashier’s checks, receipts, pass books, bank checks, safety deposit
          box keys and any other items evidencing the obtaining, secreting, transfer,
          concealment, storage and/or expenditure of money or other assets including, but not
          limited to, firearms and/or firearm parts;

       f. Documents and papers evidencing ownership of firearms, possession of firearms,
          storage and location of such assets and facilities to safely store and secure such items,
          such as safes, to include lock boxes, gun safes, and strong boxes;

       g. Photographs, in particular, photographs of firearms and/or firearm parts and
          photographs of individuals possessing firearms and/or controlled substances and
          photographs showing the association of individuals;

       h. Indicia of occupancy, residence, and/or ownership of the premises described herein,
          including, but not limited to, utility and telephone bills, cancelled envelopes, and
          keys;

       i. Firearm manufacturing equipment and tools i.e. drills, lathe, and grinder.




                                                 30
  Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 8 of 17 PageID# 8




       For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

       a. evidence of who used, owned, or controlled the COMPUTER at the time the things
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, browsing
          history, user profiles, email, email contacts, “chat,” instant messaging logs,
          photographs, and correspondence;

       b. evidence of software that would allow others to control the COMPUTER, such as
          viruses, Trojan horses, and other forms of malicious software, as well as evidence of
          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence indicating how and when the COMPUTER was accessed or used to
          determine the chronological context of computer access, use, and events relating to
          crime under investigation and to the computer user;

       e. evidence indicating the COMPUTER user’s state of mind as it relates to the crime
          under investigation;

       f. evidence of the attachment to the COMPUTER of other storage devices or similar
          containers for electronic evidence;

       g. evidence of counter-forensic programs (and associated data) that are designed to
          eliminate data from the COMPUTER;

       h. evidence of the times the COMPUTER was used;

       i. passwords, encryption keys, and other access devices that may be necessary to access
          the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to
          conduct a forensic examination of the COMPUTER;

       k. records of or information about Internet Protocol addresses used by the COMPUTER;

       l. records of or information about the COMPUTER’s Internet activity, including
          firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
          pages, search terms that the user entered into any Internet search engine, and records
          of user-typed web addresses;


                                              31
  Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 9 of 17 PageID# 9




       m. contextual information necessary to understand the evidence described in this
          attachment.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.

       The term “storage medium” includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

       During the execution of the search of 3662 Jefferson Davis Highway, Unit 86,

Fredericksburg, VA 22408, described in Attachment A-2, law enforcement personnel are

authorized to press the fingers (including thumbs) and faces of individuals found in 3662

Jefferson Davis Highway, Unit 86, Fredericksburg, VA 22408 to the Touch ID or Face ID

sensor of cellular phones found at 3662 Jefferson Davis Highway, Unit 86, Fredericksburg,

VA 22408 for the purpose of attempting to unlock the device via Touch ID or Face ID in order to

search the contents as authorized by this warrant.




                                                32
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 10 of 17 PageID# 10




                                 ATTACHMENT A-3

                                Property to be searched

The property to be searched is a 2007 Blue Jeep Wrangler bearing Virginia license plate
ULD9457 and vehicle identification number 1J4GA59137L118552.




                                          33
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 11 of 17 PageID# 11




                                       ATTACHMENT B-3

                                         Items to be Seized

       All items constituting evidence and/or instrumentalities of violations of 18 U.S.C. §

922(o) (transfer or possess a machinegun) and 26 U.S.C. § 5861 (possession of an unregistered

firearm), including, but not limited to, the following:

       a. Firearms, including, but not limited to, firearms parts, accessories, holsters, and
          ammunition

       b. U.S. currency and other illicit gains from the distribution of firearms;

       c. Books, records, receipts, notes, ledgers, and other papers including any computerized
          or electronic records including cellular telephones, relating to the ordering, purchase
          or possession of firearms;

       d. Address and/or telephone books and papers, including computerized or electronic
          address and/or telephone records reflecting names, addresses and/or telephone
          numbers;

       e. Books, records, receipts, bank statements, and records, money drafts, letters of credit,
          money order and cashier’s checks, receipts, pass books, bank checks, safety deposit
          box keys and any other items evidencing the obtaining, secreting, transfer,
          concealment, storage and/or expenditure of money or other assets including, but not
          limited to, firearms and/or firearm parts;

       f. Documents and papers evidencing ownership of firearms, possession of firearms,
          storage and location of such assets and facilities to safely store and secure such items,
          such as safes, to include lock boxes, gun safes, and strong boxes;

       g. Photographs, in particular, photographs of firearms and/or firearm parts and
          photographs of individuals possessing firearms and/or controlled substances and
          photographs showing the association of individuals;

       h. Indicia of occupancy, residence, and/or ownership of the premises described herein,
          including, but not limited to, utility and telephone bills, cancelled envelopes, and
          keys;

       i. Firearm manufacturing equipment and tools i.e. drills, lathe, and grinder.




                                                 34
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 12 of 17 PageID# 12




       For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

       a. evidence of who used, owned, or controlled the COMPUTER at the time the things
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, browsing
          history, user profiles, email, email contacts, “chat,” instant messaging logs,
          photographs, and correspondence;

       b. evidence of software that would allow others to control the COMPUTER, such as
          viruses, Trojan horses, and other forms of malicious software, as well as evidence of
          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence indicating how and when the COMPUTER was accessed or used to
          determine the chronological context of computer access, use, and events relating to
          crime under investigation and to the computer user;

       e. evidence indicating the COMPUTER user’s state of mind as it relates to the crime
          under investigation;

       f. evidence of the attachment to the COMPUTER of other storage devices or similar
          containers for electronic evidence;

       g. evidence of counter-forensic programs (and associated data) that are designed to
          eliminate data from the COMPUTER;

       h. evidence of the times the COMPUTER was used;

       i. passwords, encryption keys, and other access devices that may be necessary to access
          the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to
          conduct a forensic examination of the COMPUTER;

       k. records of or information about Internet Protocol addresses used by the COMPUTER;

       l. records of or information about the COMPUTER’s Internet activity, including
          firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
          pages, search terms that the user entered into any Internet search engine, and records
          of user-typed web addresses;


                                              35
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 13 of 17 PageID# 13




       m. contextual information necessary to understand the evidence described in this
          attachment.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.

       The term “storage medium” includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

       During the execution of the search of the 2007 Blue Jeep Wrangler bearing Virginia

license plate ULD9457 and vehicle identification number 1J4GA59137L118552, described in

Attachment A-3, law enforcement personnel are authorized to press the fingers (including

thumbs) and faces of individuals found in the 2007 Blue Jeep Wrangler bearing Virginia

license plate ULD9457 and vehicle identification number 1J4GA59137L118552 to the Touch

ID or Face ID sensor of cellular phones found in the 2007 Blue Jeep Wrangler bearing

Virginia license plate ULD9457 and vehicle identification number 1J4GA59137L118552 for

the purpose of attempting to unlock the device via Touch ID or Face ID in order to search the

contents as authorized by this warrant.


                                                36
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 14 of 17 PageID# 14




                                  ATTACHMENT A-4

                                 Property to be searched

The property to be searched is a 2012 Blue Hyundai Elantra bearing Virginia license plate
WYL8162 and vehicle identification number KMHDH4AE9CU449438.




                                           37
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 15 of 17 PageID# 15




                                       ATTACHMENT B-4

                                         Items to be Seized

       All items constituting evidence and/or instrumentalities of violations of 18 U.S.C. §

922(o) (transfer or possess a machinegun) and 26 U.S.C. § 5861 (possession of an unregistered

firearm), including, but not limited to, the following:

       a. Firearms, including, but not limited to, firearms parts, accessories, holsters, and
          ammunition

       b. U.S. currency and other illicit gains from the distribution of firearms;

       c. Books, records, receipts, notes, ledgers, and other papers including any computerized
          or electronic records including cellular telephones, relating to the ordering, purchase
          or possession of firearms;

       d. Address and/or telephone books and papers, including computerized or electronic
          address and/or telephone records reflecting names, addresses and/or telephone
          numbers;

       e. Books, records, receipts, bank statements, and records, money drafts, letters of credit,
          money order and cashier’s checks, receipts, pass books, bank checks, safety deposit
          box keys and any other items evidencing the obtaining, secreting, transfer,
          concealment, storage and/or expenditure of money or other assets including, but not
          limited to, firearms and/or firearm parts;

       f. Documents and papers evidencing ownership of firearms, possession of firearms,
          storage and location of such assets and facilities to safely store and secure such items,
          such as safes, to include lock boxes, gun safes, and strong boxes;

       g. Photographs, in particular, photographs of firearms and/or firearm parts and
          photographs of individuals possessing firearms and/or controlled substances and
          photographs showing the association of individuals;

       h. Indicia of occupancy, residence, and/or ownership of the premises described herein,
          including, but not limited to, utility and telephone bills, cancelled envelopes, and
          keys;

       i. Firearm manufacturing equipment and tools i.e. drills, lathe, and grinder.




                                                 38
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 16 of 17 PageID# 16




       For any computer or storage medium whose seizure is otherwise authorized by this

warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

       a. evidence of who used, owned, or controlled the COMPUTER at the time the things
          described in this warrant were created, edited, or deleted, such as logs, registry
          entries, configuration files, saved usernames and passwords, documents, browsing
          history, user profiles, email, email contacts, “chat,” instant messaging logs,
          photographs, and correspondence;

       b. evidence of software that would allow others to control the COMPUTER, such as
          viruses, Trojan horses, and other forms of malicious software, as well as evidence of
          the presence or absence of security software designed to detect malicious software;

       c. evidence of the lack of such malicious software;

       d. evidence indicating how and when the COMPUTER was accessed or used to
          determine the chronological context of computer access, use, and events relating to
          crime under investigation and to the computer user;

       e. evidence indicating the COMPUTER user’s state of mind as it relates to the crime
          under investigation;

       f. evidence of the attachment to the COMPUTER of other storage devices or similar
          containers for electronic evidence;

       g. evidence of counter-forensic programs (and associated data) that are designed to
          eliminate data from the COMPUTER;

       h. evidence of the times the COMPUTER was used;

       i. passwords, encryption keys, and other access devices that may be necessary to access
          the COMPUTER;

       j. documentation and manuals that may be necessary to access the COMPUTER or to
          conduct a forensic examination of the COMPUTER;

       k. records of or information about Internet Protocol addresses used by the COMPUTER;

       l. records of or information about the COMPUTER’s Internet activity, including
          firewall logs, caches, browser history and cookies, “bookmarked” or “favorite” web
          pages, search terms that the user entered into any Internet search engine, and records
          of user-typed web addresses;


                                              39
 Case 1:22-sw-00058-WEF Document 1 Filed 01/27/22 Page 17 of 17 PageID# 17




       m. contextual information necessary to understand the evidence described in this
          attachment.

       As used above, the terms “records” and “information” includes all forms of creation or

storage, including any form of computer or electronic storage (such as hard disks or other media

that can store data); any handmade form (such as writing); any mechanical form (such as printing

or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

videotapes, motion pictures, or photocopies).

       The term “computer” includes all types of electronic, magnetic, optical, electrochemical,

or other high speed data processing devices performing logical, arithmetic, or storage functions,

including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware.

       The term “storage medium” includes any physical object upon which computer data can

be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMs, and

other magnetic or optical media.

       During the execution of the search of the 2012 Blue Hyundai Elantra bearing Virginia

license plate WYL8162 and vehicle identification number KMHDH4AE9CU449438,

described in Attachment A-4, law enforcement personnel are authorized to press the fingers

(including thumbs) and faces of individuals found in the 2012 Blue Hyundai Elantra bearing

Virginia     license     plate     WYL8162           and   vehicle    identification     number

KMHDH4AE9CU449438 to the Touch ID or Face ID sensor of cellular phones found in the

2012 Blue Hyundai Elantra bearing Virginia license plate WYL8162 and vehicle

identification number KMHDH4AE9CU449438 for the purpose of attempting to unlock the

device via Touch ID or Face ID in order to search the contents as authorized by this warrant.


                                                40
